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                                                 June I, 2023

 VIA EMAIL

The Honorable Katherine H. Parker
United States Magistrate Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

          Re:      United States v. Nadim Ahmed, No. 23-MAG-563 (SDNY)

Dear Judge Parker:

          We represent Defendant Nadim Ahmed in the above-referenced matter.

        We write to respectfully request Court approval of a change in the conditions of release
regarding travel. Currently, Mr. Ahmed's bond restricts his travel within the Southern and
Eastern Districts of New York. Mr. Ahmed would like to travel outside the two districts, for
personal travel to New Orleans, Louisiana, from June 23, 2023 to June 28, 2023. Mr. Ahmed
plans to fly there from the New York area.

        We have advised the Government and the Pretrial Services of this request. There are no
objections to this request.

          Mr. Ahmed has complied with all the terms of his conditions of release to date.

          Accordingly, we respectfully request that the conditions of release be modified as set forth
above.

                                                    Respectfully submitted,

                                                    Isl Richard Hong

                                                    Richard I-long


cc:      AUSA Samuel Raymond, USAO SDNY
         AUSA Vladislav Vainberg, USAO SDNY
         Pretrial Services




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